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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

 KEVIN BRICK, and MAXIM TICKETS,                       )
 INC.,                                                 )
                                                       ) No. 2:24-cv-12090
              Plaintiffs,                              ) Hon. Brandy R. McMillion
                                                       ) Mag. Judge Anthony P. Patti
                       vs.                             )
                                                       )
 The University of Michigan,                           )
                                                       )
              Defendant.

                                    NOTICE OF DISMISSAL

       Plaintiffs, Kevin Brick (“Mr. Brick”) and Maxim Tickets, Inc. (“Maxim Tickets”)

(collectively, “Plaintiffs”), by their undersigned      attorneys and     pursuant to Fed.R.Civ.P.

41(a)(1)(A)(ii), file their Notice of Dismissal of this action, without prejudice.

                                       Respectfully submitted,

                                       KEVIN BRICK and MAXIM TICKETS, INC.


                                       By:     /s/ Robert H. Smeltzer_________
                                                   One of their attorneys




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